Case 1:01-cv-12257-PBS Document 6633-8 Filed 11/02/09 Page 1 of 2

EXHIBIT G
Case 1:01-cv-12257-PBS Document 6633-8 Filed 11/02/09 Page 2 of 2

Column Record 1 Calculation
DOS 1/3/2000

PROVIDER NAME MEDICATE LTC PHARMACY

ICN 4600004438857

ICN_DATE 36529

NDC 00074613802

GENERIC_NAME SODIUM CHLORIDE IRRIG SOLUTION
BRAND_NAME SODIUM CHLORIDE

STRENGTH 0.009

UNITS 250 C
DAYS 1

REFILL O

AMOUNT_BILLED 16.84

AMOUNT_ALLOWED 12.58

DISP_FEE 4.09 B
COPAY 0

OTH_INS 0

AMOUNT_PAID 16.67 A
STECK_DOS 20000103

STECK_ICN_DATE 20000104

STECK_ID 252359

Per Unit Ingredient Cost 0.05032 (A-B)/C

